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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


JORDYN HASTINGS                                                                                  PLAINTIFF


      vs.
                                         Case No. 4:18 CV 00682 (KGB)

SAFEGUARD SECURITY AND                                                                        DEFENDANTS
SURVEILLANCE, INC., AMERICAN
HOMESECURES, INC. AND ASHISH
BHATIA


                                      JOINT RULE 26(f) REPORT

      The parties, by their counsel below signed, for their Joint Rule 26(f) Report, state as follows:

      1.       Any changes in timing, form or requirements of mandatory disclosures under Fed. R.
               Civ. P. 26(a).

               None.

      2.       Date when mandatory disclosures were or will be made.

               July 21, 2019 or 21 days after any ruling on the pending Motion to Dismiss, if necessary.

      3.       Subjects on which discovery may be needed.

               (a)     Facts and circumstances surrounding the allegations described in the Plaintiff’s
                       Complaint allegedly caused by Defendants’ actions and any proof of contact
                       between Plaintiff and Defendants;


      4.       Whether any party will likely be requested to disclose or produce information from
               electronic or computer based media. If so:

               (a)     Whether disclosure or production will be limited to data reasonably available
                       to the parties in the ordinary course of business.

                       Yes.

               (b)     The anticipated scope, cost and time required for disclosure or production of
                       data beyond what is reasonably available to the parties in the ordinary course
                       of business;

                       N/A
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                 (c)     The format and media agreed to by the parties for the production of such data
                         as well as agreed procedures for such production;

                         Production by electronic media or hard copies.

                 (d)     Whether reasonable measures have been taken to preserve potentially
                         discoverable data from alteration or destruction in the ordinary course of
                         business or otherwise;

                         Yes.

                 (e)     Other problems which the parties anticipate may arise in connection with
                         electronic or computer-based discovery;

                         None are currently anticipated.

                 (f)     Date by which discovery should be completed, including expert discovery.

                         February 19, 2020.

        6.       Any needed changes in limitations imposed by the Federal Rules of Civil Procedure.

                 No.

        7.       Any Orders, e.g., protective orders, which should be entered.

                 The parties agree that it may be appropriate to enter into a Protective Order governing
                 the production or disclosure of certain confidential and proprietary information in this
                 case. The parties may move for an appropriate Order to protect any confidential business
                 information that may be exchanged during the course of discovery, and will submit a
                 precedent Order for the Court’s approval along with such any motion.

        8.       Any objections to the initial disclosures on the grounds that mandatory disclosures
                 are not appropriate in the circumstances of the action.

                 No.

        9.       Any objections to the proposed trial date (May 4, 2020).

                 Not at this time. However, if discovery is delayed for any significant period of time while
                 the Motion to Dismiss is pending, the parties may wish to request a joint continuance of
                 the matter in order to complete the necessary discovery.

        10.      Proposed deadline for joining other parties and amending the pleadings.

                 November 12, 2019 or 90 days after a ruling on the pending Motion to Dismiss, if

necessary.
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11.     Proposed dates for expert disclosures.

        Case-in-chief expert disclosures are due December 6, 2019.
        Rebuttal expert disclosures due January 6, 2020.


12.     Proposed deadline for completing discovery.

        February 19, 2019.

13.     Proposed deadline for filing motions.

        March 5, 2020 or 60 days prior to trial – Dispositive and Daubert motions
        April 20, 2020 or two weeks prior to trial – Motions in Limine

14.     Trial.

        The parties estimate needing one (1) to two (2) days to try the case.

15.     Settlement Conference Request.

        Requests for a settlement conference must be made on or before March 20, 2020.

Respectfully submitted this 3rd day of June, 2019.


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